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                                                                     5       Attorneys for Equity Owners
                                                                             Ross Sullivan and Kelleen Sullivan
                                                                     6
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                     7                               NORTHERN DISTRICT OF CALIFORNIA
                                                                     8                                            OAKLAND DIVISION
                                                                     9      In re                                               Case No.: 17-10067-RLE

                                                                    10              SVP,                                        Chapter 11

                                                                    11                                                          CERTIFICATE OF SERVICE
                                                                                                          Debtor.
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




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                                                                     1       STATE OF CALIFORNIA                  )
                                                                                                                  )
                                                                     2       CITY OF SAN FRANCISCO                )

                                                                     3              I, Oliver Carpio, am employed in the city and county of San Francisco, State of California.
                                                                            I am over the age of 18 and not a party to the within action; my business address is 150 California
                                                                     4      Street, 15th Floor, San Francisco, California 94111-4500.
                                                                                    On January 28, 2020, I caused to be served the following document in the manned stated
                                                                     5      below:
                                                                     6           SULLIVANS’ OBJECTION TO SCHEDULED CLAIM OF TROVE PROFESSIONAL
                                                                                    SERVICES LLC
                                                                     7           NOTICE AND OPPORTUNITY FOR HEARING ON SULLIVANS’ OBJECTION TO
                                                                                    SCHEDULED CLAIM OF TROVE PROFESSIONAL SERVICES LLC
                                                                     8
                                                                                     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                     9               Pursuant to controlling General Orders and LBR, the foregoing document was served by
                                                                    10              the court via NEF and hyperlink to the document. On January 28, 2020, I checked the
                                                                                     CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
                                                                                     the following persons are on the Electronic Mail Notice List to receive NEF transmission
                                                                    11               at the email addresses stated below
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                                                                     (BY MAIL) I am readily familiar with the firm's practice of collection and processing
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13               correspondence for mailing. Under that practice it would be deposited with the U.S.
                                            ATTORNEYS AT LAW




                                                                    14
                                                                                    Postal Service on that same day with postage thereon fully prepaid at San Francisco,
                                                                                     California, in the ordinary course of business. I am aware that on motion of the party
                                                                                     served, service is presumed invalid if postal cancellation date or postage meter date is
                                                                    15               more than one day after date of deposit for mailing in affidavit.

                                                                    16              (BY EMAIL) I caused to be served the above-described document by email to the parties
                                                                                     indicated on the attached service list at the indicated email address.
                                                                    17
                                                                                    I declare under penalty of perjury, under the laws of the State of California and the United
                                                                    18      States of America that the foregoing is true and correct.
                                                                    19              Executed on January 28, 2020 at San Francisco, California.

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                                                                    21                                                                       /s/ Oliver Carpio
                                                                                                                                              Legal Assistant
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